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                     UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF MISSOURI, EASTERN DIVISION

UNITED STATES OF AMERICA                  )
and STATE OF MISSOURI,                    )
                                          )
            Plaintiffs,                   )                 COMPLAINT
      v.                                  )
                                          )                           18-502
                                                            Case No. _____________
THE DOE RUN RESOURCES CORPORATION, )
                                          )
            Defendant.                    )
__________________________________________)

       The United States of America, by the authority of the Attorney General of the United

States, acting at the request of the Administrator of the United States Environmental Protection

Agency (“EPA”), and the State of Missouri, by the authority of the Missouri Attorney General,

acting on behalf of the Missouri Department of Natural Resources, file this complaint and allege

as follows:

                                  NATURE OF THE ACTION

       1.      This is a civil action brought against The Doe Run Resources Corporation (“Doe

Run” or “Defendant”) pursuant to Sections 106, 107(a), and 113(g) of the Comprehensive

Environmental Response, Compensation, and Liability Act, 42 U.S.C. §§ 9606, 9607(a), and

9613(g), as amended by the Superfund Amendments and Reauthorization Act of 1986

(“CERCLA”), and the Missouri Hazardous Waste Cleanup Law, §§ 260.500 to 260.550 RSMo,

and the Missouri Hazardous Waste Management Law, §§ 260.350 to 260.430, RSMo regarding

Operable Unit 1 (OU-1) of the Big River Mine Tailings Superfund Site in St. Francois County,

Missouri (“Site”). Plaintiffs seek the recovery of their unreimbursed response costs incurred,

and to be incurred, and the performance of response actions by the Defendant consistent with the

National Contingency Plan, 40 C.F.R. Part 300 (“NCP”). In the event of any conflict between
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CERCLA and the Missouri Hazardous Waste Cleanup Law or the Missouri Hazardous Waste

Management Law, CERCLA and the NCP shall take precedence over Section 260.500 to

260.550 RSMo or 260.350 to 260.430 RSMo. The United States also seeks a declaratory

judgment pursuant to Section 113(g)(2) of CERCLA, 42 U.S.C. §9613(g)(2), holding the

Defendant liable for all future response costs that will be binding in any subsequent action or

actions to recover further response costs incurred by the United States or the State at or in

connection with OU-1 of the Site.

                                  JURISDICTION AND VENUE

       2.      This Court has jurisdiction over the subject matter of this action and over the

Defendant under 28 U.S.C. §§ 1331, 1345, and 1367, and Section 113(b) of CERCLA, 42 U.S.C.

§ 9613(b).

       3.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and

Section 113(b) of CERCLA, 42 U.S.C. § 9613(b), both because the relevant releases or

threatened releases of hazardous substances occurred within this district and because the

Defendant has its principal place of business within this district.

                                  STATUTORY FRAMEWORK

       4.      CERCLA was enacted in 1980 to provide a comprehensive governmental

mechanism for abating releases and threatened releases of hazardous substances and other

pollutants and contaminants and for funding the costs of such abatement and related enforcement

activities, which are known as “response actions.” 42 U.S.C. §§ 9604(a); 9601(25).

       5.      Under Section 104(a)(1) of CERCLA, 42 U.S.C. § 9604(a)(1):

               Whenever (A) any hazardous substance is released or there is a
               substantial threat of such a release into the environment, or (B)
               there is a release or substantial threat of release into the
               environment of any pollutant or contaminant which may present an

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               imminent and substantial danger to the public health or welfare,
               the President is authorized to act, consistent with the national
               contingency plan, to remove or arrange for the removal of, and
               provide for remedial action relating to such hazardous substance,
               pollutant, or contaminant at any time (including its removal from
               any contaminated natural resource), or take any other response
               measure consistent with the national contingency plan which the
               President deems necessary to protect the public health or welfare
               or the environment. When the President determines that such
               action will be done properly and promptly by the owner or
               operator of the facility or vessel or by any other responsible party,
               the President may allow such person to carry out the action,
               conduct the remedial investigation, or conduct the feasibility study
               in accordance with section 9622 of this title.

       6.      For CERCLA response actions and enforcement purposes, the Administrator of

EPA is the President’s delegate, as provided in operative Executive Orders.

       7.      Under Section 107(a) of CERCLA, 42 U.S.C. § 9607(a):

               (1) [T]he owner and operator of a vessel or a facility,

               (2) any person who at the time of disposal of any hazardous
               substance owned or operated any facility at which such hazardous
               substances were disposed of, [or]

               (3) any person who by contract, agreement, or otherwise arranged
               for disposal or treatment, or arranged with a transporter for
               transport for disposal or treatment, of hazardous substances owned
               or possessed by such person, by any other party or entity, at any
               facility or incineration vessel owned or operated by another party
               or entity and containing such hazardous substances, . . .

               shall be liable for—

               (A) all costs of removal or remedial action incurred by the United
                   States Government or a State or an Indian tribe not
                   inconsistent with the national contingency plan . . .

       8.      Under Section 106(a) of CERCLA, 42 U.S.C. § 9606(a), the United States is also

authorized to seek injunctive relief necessary to abate the imminent and substantial




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endangerment to the public health or welfare, or the environment, that may result from an actual

or threatened release of a hazardous substance at or from a facility.

       9.      Section 260.530, RSMo provides in pertinent part:

               Any person having control over a hazardous substance shall be
               strictly liable to the state of Missouri for the reasonable clean up
               costs incurred by the state as a result of the failure of such person
               to clean up a hazardous substance involved in a hazardous
               substance emergency in accordance with the requirements of
               sections 260.500 to 260.550 and rule promulgated by the
               department pursuant thereto. If such failure is willful, the person
               shall, in addition, be liable for punitive damages not to exceed
               triple the clean up costs, incurred by the state.

                                            THE SITE

       10.     The Site is located in southeastern Missouri about seventy miles south of St.

Louis, within St. Francois County, Missouri.

       11.     Lead mining began in St. Francois County in the early 1700s and was continuous

from the mid-1700s until the mid-1970s. During this approximately 200 year period of intensive

lead mining, the mines, milling operations, and associated facilities in the county became known

as Missouri’s “Old Lead Belt”

       12.     Between 1864 and 1970, more than eight million tons of lead concentrate were

produced in the Old Lead Belt. Production of this concentrate created an estimated 250 million

tons of waste, primarily in the form of chat and tailings. Chat is relatively coarse-grained rock

fragments produced during the milling process and transported to large waste piles that

eventually reached as much as 200 feet in height. Tailings, a finer-grained waste product of later

milling technologies, were disposed via discharge into liquid impoundments covering as much as

several hundred acres, known as tailings ponds.




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       13.     The Site contains eight large distinct chat pile and tailings pond areas, which

together cover thousands of acres: Desloge (also called Big River); National; Leadwood; Elvins

(also called Rivermines); Bonne Terre; Federal (which contains St. Joe State Park); Doe Run;

and Hayden Creek (collectively, the “Waste Piles”)

       14.     The Waste Piles contain hazardous substances such as lead, cadmium, and zinc.

       15.     Numerous environmental investigations have been conducted in St. Francois

County. These investigations show that mine waste materials containing lead, cadmium and zinc

have migrated from the Waste Piles via wind erosion, bank erosion, storm water runoff, leachate

and mechanical transport. As a result, surface waters, sediments, and soils, including residential

soils, in St. Francois County contain elevated levels of lead, cadmium and zinc.

       16.     OU-1 of the Site comprises all residential yards (a term which includes properties

that contain single and multi-family dwellings, apartment complexes, vacant lots in residential

areas, schools, daycare centers, playgrounds, parks, and greenways) within St. Francois County

where lead has come to be located.

       17.      Lead is a metal that has been listed as a hazardous waste ("D008") in the

regulations for the Resource Conservation and Recovery Act ("RCRA"). EPA classifies lead as

a probable human carcinogen and as a cumulative toxicant. Exposure to lead can increase the

risk of future adverse health effects, such as damage to the central nervous system, peripheral

nervous system, and kidney and blood disorders. Lead poisoning causes decreased physical

fitness, fatigue, sleep disturbance, headache, aching bones and muscles, digestive symptoms

(particularly constipation), abdominal cramping, nausea, vomiting, and decreased appetite. With

increased exposure, symptoms include anemia, pallor, a "lead line" on the gums, and decreased

hand grip strength. Central nervous system effects include severe headaches, convulsions, coma,



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delirium, and possibly death. The kidneys can also be damaged after long periods of exposure to

lead, with loss of kidney function and progressive azotemia. Reproductive effects in women

include decreased fertility, increased rates of miscarriage and stillbirth, decreased birth weight,

premature rupture of membrane, and/or pre-term delivery. Reproductive effects in men include

erectile dysfunction, decreased sperm count, abnormal sperm shape and size, and reduced semen

volume. A significant amount of lead that enters the body is stored in the bone for many years

and can be considered an irreversible health effect.

       18.     Young children (typically defined as seven years of age or below) are the most

sensitive population group potentially exposed to lead contamination at the Site. Young children

are most susceptible to lead exposure because they have higher contact rates with soil and dust,

absorb lead more readily than adults, and are more sensitive to the adverse effects of lead than

older children-and adults. The effect of exposure to lead contamination of greatest concern in

children is impairment of the nervous system, including learning deficits, lowered intelligence,

and adverse effects on behavior.

       19.     In May 1997, the Missouri Department of Health and Senior Services

("MDHSS") released a draft Lead Exposure study of children in the Old Lead Belt of St.

Francois County. The MDHSS study, included sampling children's blood, sampling

environmental media such as soil and dust, and questioning residents about their lifestyle as it

related to lead exposure. The study compared the results of blood lead levels collected from

children in the Old Lead Belt of St. Francois County to blood lead level test results collected

from children during the study on a control area, Salem, Missouri, located outside the Site. In

the Old Lead Belt, about 17% of the children tested showed a blood lead level of more than 10




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micrograms/deciliter whereas only about 3% of the children in Salem showed a blood lead level

of more than 10 micrograms/deciliter.

        20.    EPA conducted a Baseline Human Health Risk Assessment ("HHRA") for the

Site in 2009. The HHRA assesses the potential risks to humans, both present and past, from Site

related contaminants present in environmental media including surface soil, indoor dust,

sediment, surface water, groundwater, and fish tissue. The results of the HHRA are intended to

inform risk managers and the public about potential human health risks attributable to site-

related contaminants and to help determine if there is a need for action at the Site.

        21.    The HHRA identified lead as the primary contaminant of concern for OU-1 of the

Site.

        22.    In accordance with the NCP, EPA issued a Record of Decision (ROD) for OU-1

on September 30, 2011. EPA’s selected Remedial Action, as fully set forth in the ROD, calls for

the excavation of soil from residential yards until lead concentrations in the top 12 inches are

below 400 parts per million, or below 1,200 parts per million below 12 inches down to 24 inches

below the surface. Based on current sampling, EPA estimates that 4,800 residential yards may

ultimately be addressed within the Response Area (which comprises the portions of the Site

within one mile of any of the Waste Piles) as part of the Remedial Action.

                                          DEFENDANT

        23.    Doe Run is a person within the meaning of Section 101(21) of CERCLA, 42

U.S.C. § 9601(21), incorporated in New York and licensed to do business in the State of




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Missouri, with its corporate office located at 1801 Park 270 Drive, Suite 300 in St. Louis,

Missouri.

       24.     Doe Run is the successor to St. Joseph Lead Company, St. Joe Minerals

Corporation, and the Doe Run Lead Company.

       25.     During the 19th and 20th centuries, Doe Run and its predecessors mined, milled,

and/or owned mine facilities in the Big River Mine Tailings Superfund Site. These activities

created large piles of tailings, mill waste, and other mine waste within St. Francois County.

       26.     Doe Run owned and, at various times, operated all of the Waste Piles and/or their

associated mining or milling facilities.

       27.     Doe Run presently owns all or a portion of the Desloge (Big River), National,

Leadwood, Elvins, and Bonne Terre piles.

       28.     Beginning in the early 1920s, Doe Run and/or its predecessors allowed

individuals and corporate entities to remove chat and tailings from some of the Waste Piles for

transport to their homes and subsequent placement in yards, gardens, sand playlots, and other

locations. Some of these individuals and corporate entities were allowed to take waste materials

for free, while others paid for the waste materials.

       29.     Individuals within St. Francois County also sometimes took chat and/or tailings

for subsequent use in yards, gardens, and play lots from some of the Waste Piles that Doe Run

and/or its predecessors left unsecured.

                                   GENERAL ALLEGATIONS

       30.     Hazardous substances, including lead, were released from the Waste Piles during

the times that Doe Run or its predecessors owned and/or operated the Waste Piles.




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        31.    Doe Run and/or its predecessors by contract, agreement, or otherwise, arranged

for the disposal of hazardous substances, including lead, from the Waste Piles.

        32.    The Site was listed on the National Priorities List, created by Section 105(a)(8)(B)

of CERCLA, 42 U.S.C. § 9605(a)(8)(B), on October 14, 1992. See 57 Fed. Reg. 47180.

        33.    EPA has conducted various response actions at the Site.

        34.    As a result of these response actions, EPA has incurred response costs in

connection with the Site.

                                     CLAIMS FOR RELIEF

                        COUNT I – PRESENT OWNER LIABILITY

        35.    Paragraphs 1 through 34 are realleged and incorporated herein by reference.

        36.    The Site is a “facility” within the meaning of Section 101(9) of CERCLA, 42

U.S.C. § 9601(9).

        37.    Each of the Waste Piles is a “facility” within the meaning of Section 101(9) of

CERCLA, 42 U.S.C. § 9601(9).

        38.    There have been releases, within the meaning of Section 101(22) of CERCLA, 42

U.S.C. § 9601(22), and threatened releases, of hazardous substances, within the meaning of

Section 101(14) of CERCLA, 42 U.S.C. § 9601(14), at or from each of the Waste Piles and the

Site.

        39.    The United States has incurred costs of response, within the meaning of Section

101(25) of CERCLA, 42 U.S.C. § 9601(25), related to the releases or threatened releases of

hazardous substances at or from the Waste Piles and the Site.

        40.    The State of Missouri has incurred cleanup costs, within the meaning of Section

260.500(2) of the Missouri Hazardous Waste Management Law, related to the release of



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hazardous substances in quantities equal to or in excess of those determined pursuant to Section

101(14) or 102 of the Comprehensive Environmental Response, Compensation and Liability Act

of 1980, as amended, and Section 304 of the Superfund Amendments and Reauthorization Act of

1986, as amended.

        41.     The United States’ response actions at the Site are not inconsistent with the NCP.

        42.     The Defendant is liable under Section 107(a)(1) of CERCLA, 42 U.S.C. §

9607(a)(2), as a person who owns a facility.

        43.     Pursuant to Section 107(a) of CERCLA, Defendant is liable to the United States

and the State for response costs incurred in connection with the Site.

                    COUNT II – PAST OWNER/OPERATOR LIABILITY

        44.     Paragraphs 1 through 41 are realleged and incorporated by reference.

        45.     Defendant is liable under Section 107(a)(2) of CERCLA, 42 U.S.C. § 9607(a)(2),

as a person who owned or operated a facility at the time of the disposal of hazardous substances

at such facility.

        46.     Pursuant to Section 107(a) of CERCLA, Defendant is liable to the United States

and the State for response costs incurred in connection with the Site.

                            COUNT III – ARRANGER LIABILITY

        47.     Paragraphs 1 through 41 are realleged and incorporated by reference.

        48.     Defendant is liable under Section 107(a)(3) of CERCLA, 42 U.S.C. § 9607(a)(3),

as a person who by contract, agreement, or otherwise, arranged for the disposal by other parties

of hazardous substances the Defendant owned or possessed.

        49.     Pursuant to Section 107(a) of CERCLA, Defendant is liable to the United States

and the State for response costs incurred in connection with the Site.



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       COUNT IV – LIABILITY FOR PERFORMANCE OF REMEDIAL ACTION

       50.     Paragraphs 1 through 41 are realleged and incorporated by reference.

       51.     The actual and threatened releases of hazardous substances, including lead, at the

Site may constitute an imminent and substantial endangerment to public health or welfare or the

environment.

       52.     Implementation of the Remedial Action selected in the ROD for OU-1 is

necessary to abate the danger to public health or welfare and the environment posed by the actual

and threatened releases of hazardous substances, including lead, at the Site.

       53.     Pursuant to Sections 106(a) and 107(a) of CERCLA, 42 U.S.C. §§ 9606(a),

9607(a), Defendant is liable for the performance of the Remedial Action.

               COUNT V – CLAIM FOR RECOVERY OF CLEANUP COSTS

       54.     Paragraphs 1 through 53 are realleged and incorporated by reference.

       55.     Hazardous substances, including lead, were released at the Site in quantities equal

to or in excess of those determined pursuant to Section 101(14) or 102 of the Comprehensive

Environmental Response, Compensation and Liability Act of 1980, as amended, and Section 304

of the Superfund Amendments and Reauthorization Act of 1986, as amended.

       56.     Due to the release of hazardous substances at the Site, including lead, Defendant

is strictly liable to the State of Missouri for cleanup costs, as defined in Section 260.500(2)

RSMO.

                                      PRAYER FOR RELIEF

       57.     Wherefore, Plaintiffs the United States and the State of Missouri respectfully

request that this Court:




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              a. Enter judgment in favor of the United States, under Section 107(a) of

                 CERCLA, 42 U.S.C. § 9607(a), holding the Defendant liable for all

                 unreimbursed costs incurred by the United States in connection with OU-1

                 of the Site, including interest;

              b. Enter judgment in favor of the State under Section 107(a) of CERCLA, 42

                 U.S.C. § 9607(a), the Missouri Hazardous Waste Cleanup Law, §§

                 260.500 to 260.550 RSMo, and the Missouri Hazardous Waste

                 Management Law, §§ 260.350 to 260.430, holding the Defendant liable

                 for all unreimbursed cleanup costs incurred by the State regarding OU-1

                 of the Site, including interest;

              c. Enter judgment in favor of the United States, under Section 106(a) of

                 CERCLA, 42 U.S.C. § 9606(a), holding Defendant liable for the

                 performance of the Remedial Action selected in the ROD for OU-1 of the

                 Site;

              d. Enter a declaratory judgment of liability against Defendant that will be

                 binding in any action to recover further response costs incurred by the

                 United States in connection with OU-1 of the Site.

              e. Award the United States and the State their costs of this action; and

              f. Grant such other and further relief as the Court deems appropriate.




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Respectfully Subnnitted,

FOR THE UNITED STATES OF AMERICA:



Dated                                 Y       OOD
                              Acting Assistant Attorney General
                              U.S. Department of Justice
                              Environment and Natural Resources Division
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FOR THE STATE OF MISSOURI:




01/26/18                      _________________________________
Dated                         Shawna Bligh
                              Assistant Attorney General
                              Agriculture and Environment Division
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